         Case:20-02380-ESL7 Doc#:31 Filed:09/23/20 Entered:09/23/20 16:23:27                              Desc:
                          Discharging Trustee-No Assets Page 1 of 1
                               IN THE UNITED STATES BANKRUPTCY COURT
                                           District of Puerto Rico



IN RE:                                                       Case No. 20−02380 ESL

WILLIAM RIVERA LOPEZ
                                                             Chapter 7

xxx−xx−4745

                                                             FILED & ENTERED ON 9/23/20
                         Debtor(s)



                         ORDER DISCHARGING TRUSTEE AND CLOSING THE CASE

The Trustee having filed a Report of No Distribution, the Clerk having given notice of the Trustee.s report, and no
objections having been filed by any party in interest, including the U. S. Trustee, it is now,

ORDERED that the Trustee be and is hereby discharged, that the bond of the trustee be cancelled and the surety
thereon released from further liability thereunder and that the estate be and is hereby closed pursuant to the provisions
of Rule 5009 of the Federal Rules of Bankruptcy Procedure.

In San Juan, Puerto Rico, this Wednesday, September 23, 2020 .
